                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                    DOCKET NO. 3:11CR190

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )             PRELIMINARY ORDER
               v.                                )               OF FORFEITURE
                                                 )
(4) DARLENE SCHOENER,                            )
                                                 )
                       Defendant.                )


       In the Bill of Information in this case, the United States sought forfeiture of property of

the Defendant as property that was proceeds of and/or was used to facilitate the crimes charged,

together with any other substitute property, which would be subject to forfeiture under 21 U.S.C.

§ 853(p).

       Defendant entered into a plea agreement, subsequently pled guilty to Counts one and

two in the Bill of Information, and was adjudged guilty of the offenses charged in those counts.

In the plea agreement, Defendant has agreed to forfeit property including substitute property, and

in a separate consent document has agreed to forfeiture of specific property as described below.

       It is therefore ORDERED:

       1.      Based upon Defendant’s plea of guilty, the United States is authorized to seize the

following property, and it is hereby forfeited to the United States for disposition according to

law; provided, however, that such forfeiture is subject to any and all third party claims and

interests, pending final adjudication herein under 21 U.S.C. § 853(n): $3,332.00 in United States

currency, one 2003 Chevrolet Avalanche C1500, VIN 3GNEC13T13G345294 and one 1999

Volkswagon Beetle, VIN 3VWCA21C6XM425581. The terms and conditions of the proposed




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consent order filed with the Government’s Motion are incorporated into this Order and may be

enforced as part of this Order.

        2.      Pursuant to 21 U.S.C. § 853(n)(1), the Government shall publish as required by

law notice of this Order and notice that any person, other than the Defendant, having or claiming

a legal interest in any of the above-listed forfeited property must file a petition with the Court

within thirty days of the final publication of notice or of receipt of actual notice, whichever is

earlier. This notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty of

perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest in each

of the forfeited properties and any additional facts supporting the petitioner’s claim and the relief

sought. The United States may, as permitted by law and to the extent practicable, provide direct

written notice to any person known to have alleged an interest in property that is the subject of

this Order of Forfeiture, as a substitute for published notice.

        3.      Upon adjudication of all third-party interests, this Court will enter a final order

and judgment of forfeiture pursuant to 21 U.S.C. § 853(n).

        SO ORDERED.                                 Signed: July 30, 2012




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